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                             UNITED STATES DISTRICT COURT
                              DISTRICT OF MASSACHUSETTS

__________________________________________
                                          )
S.O., by and through her mother and       )
and next friend, LEAH PIRES,              )
                                          )
              Plaintiff,                  )
                                          )                         Civil Action No.
              v.                          )                         15-11789-FDS
                                          )
UNITED STATES of AMERICA,                 )
                                          )
              Defendant.                  )
__________________________________________)

                           ORDER CONCERNING LIMITED
                         UNSEALING AND FURTHER HEARING

SAYLOR, J.

       The parties in this matter entered into a settlement agreement in principle on May 8,

2017. Because plaintiff is a minor, a hearing was held on June 16, 2017, before this Court to

approve the settlement pursuant to Mass. Gen. Laws ch. 231. Immediately following the

hearing, the parties executed a document titled “Stipulation for Compromise Settlement and

Release of Federal Tort Claims Act Claims Pursuant to 28 U.S.C. § 2677.” Included in the

settlement agreement was a provision specifying that the government would purchase an annuity

on plaintiff’s behalf. The government disbursed the settlement payment in late July 2017.

       However, on November 6, 2017, the government, represented by Assistant U.S. Attorney

Jessica Driscoll, received an annuity contract and executed settlement agreement from Summit

Settlement Services. AUSA Driscoll stated that she had never before seen the annuity contract.

In addition, the text of the attached settlement agreement did not match that of the agreement

executed on June 16, 2017.
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       The Court called a status conference on February 1, 2018. At the conference, the Court

directed the government to indicate in writing whether it would seek a reprimand relating to the

conduct of plaintiff’s attorney. The government has since moved that certain documents in this

litigation be unsealed for the Department of Justice’s Office of Professional Responsibility

(“OPR”) to determine whether to refer this matter to the Massachusetts Board of Bar Overseers

(“BBO”). In addition, the government has requested that a hearing be held.

       The government’s motion for limited unsealing and further hearing is GRANTED in part

as follows:

       1. Exhibits A and B to the government’s motion for order to show cause (Docket No.

              80), plaintiff’s response to the order to show cause (Docket No. 85), and any

              additional documents filed under seal shall be unsealed for the limited purpose of

              referring this case to the OPR or BBO for any investigation either organization might

              choose to undertake. OPR shall redact the minor child’s name and any Privacy Act-

              protected information in any documents sent to the BBO as part of any such referral.

       2. Plaintiff’s counsel shall provide copies of all documents relating to the creation of the

              trust to the United States Attorney’s Office within seven days of the date of this order.

       3. Plaintiff’s counsel shall (1) make arrangements with Summit Settlement Services for

              it to provide directly to the Court, by letter copied to the government and Leah Pires,

              a copy of a new annuity contract that clearly states that it supersedes and replaces any

              prior annuity contracts; or (2) provide a full explanation why he cannot do so.

       4. The Court may schedule a hearing as appropriate, and may seek to require Leah Pires

              to testify at such a hearing to provide any information she may have regarding the

              creation of the trust and the receipt of funds to date.




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So Ordered.


                                          /s/ F. Dennis Saylor
                                          F. Dennis Saylor IV
Dated: February 13, 2018                  United States District Judge




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